Case 8:23-cr-00388-TPB-CPT Document 46 Filed 07/11/24 Page 1 of 2 PageID 121




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION


UNITED STATES OF AMERICA

v.                                                 Case No. 8:23-cr-388-TPB-CPT

MATTHEW FREDERIC BERGWALL
__________________________________/



                     REPORT AND RECOMMENDATION
                      CONCERNING PLEA OF GUILTY

      The Defendant, by consent, appeared before me pursuant to Fed. R. Crim. P.

11 and Local Rule 1.02 and pleaded guilty to Count Two of the Indictment. After

examining the Defendant as required by Rule 11, I have determined that the

Defendant’s guilty plea is knowing, voluntary, and supported by an independent

factual basis. I therefore recommend that the Defendant’s guilty plea be accepted,

that the Defendant be adjudged guilty, and that the Defendant’s sentence be imposed

accordingly.

      IT IS SO REPORTED AND RECOMMENDED in Tampa, Florida, this

11th day of July 2024.
Case 8:23-cr-00388-TPB-CPT Document 46 Filed 07/11/24 Page 2 of 2 PageID 122




                               NOTICE TO PARTIES

      A party has fourteen (14) days from this date to file written objections to the

Report and Recommendation’s factual findings and legal conclusions. A party’s

failure to file written objections, or to move for an extension of time to do so, waives

that party’s right to challenge on appeal any unobjected-to factual finding(s) or legal

conclusion(s) the District Judge adopts from the Report and Recommendation. See

11th Cir. R. 3-1; 28 U.S.C. § 636(b)(1).




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